                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

CITY OF ST. LOUIS,                                   )
                                                     )
       Plaintiff                                     )
                                                     )
v.                                                   )      Civil Action No. 4:23-CV-00987
                                                     )
CHS TX, INC., D/B/A YESCARE,                         )
LEXINGTON INSURANCE CO., and                         )      Removed from the Circuit Court of
GREAT MIDWEST INSURANCE CO.,                         )      St. Louis City, Missouri
                                                     )      Case No. 2322-CC01330
       Defendants.                                   )
                                                     )


      REPLY IN SUPPORT OF CHS TX, INC.’S MOTION TO TRANSFER VENUE


       Defendant CHS TX, Inc. (“CHS TX”) files this Reply in support of its Motion to Transfer

Venue (Doc. No. 8) and states as follows:

I.     The Eighth Circuit’s “Extremely Broad” Conceivable Effect Test for “Related to”
       Jurisdiction Is Satisfied

       At the outset, it is important to note the “extremely broad” conceivable effect test adopted

by the Eighth Circuit to assess “related to” jurisdiction. See Cutcliff v. Reuter, No. 2:06-CV-04123-

NKL, 2013 WL 12353355, at *2 (W.D. Mo. Jan. 15, 2013) (“The jurisdictional grant of this

“conceivable effect” test is “extremely broad”; for instance, related proceedings may include “suits

between third parties which have an effect on the bankruptcy estate,” and “need not necessarily be

against the debtor or against the debtor’s property.”); Quick v. Viziqor Sols., Inc., No.

406CV637SNL, 2007 WL 494924, at *2 (E.D. Mo. Feb. 12, 2007) (noting that the conceivable effect

test “implements a fairly broad interpretation of the scope of…‘related to’ jurisdiction’”); Lonquist

Field Servs., LLC v. Dominion Proppants, LLC, No. 1:19-CV-00213-JAR, 2020 WL 5230887, at *2


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(E.D. Mo. Sept. 2, 2020) (likewise noting the “broad scope” of the conceivable effect test). Given

its broad scope, “even a proceeding ‘which portends a mere contingent or tangential effect on a

debtor’s estate’ meets the broad jurisdictional test adopted by the Eighth Circuit.” Quick, 2007 WL

494924, at *2 (quoting In re Titan Energy, Inc., 837 F.2d. 325, 330 (8th Cir. 1988)). The concept of

“related to” jurisdiction is not to be interpreted narrowly—in the manner Plaintiff indirectly asserts

in its Response—to give district courts and bankruptcy courts jurisdiction over nothing more than

proceedings involving the property of the debtor or the estate. See id. (citing Celotex Corp. v.

Edwards, 514 U.S. 300, 308 (1995)) (noting that “Congress intended to grant comprehensive

jurisdiction to the bankruptcy courts so that they might deal efficiently and expeditiously with all

matters connected with the bankruptcy estate.”).

       Other than the scope of the test used to assess “related to” jurisdiction, Plaintiff is wrong as

to one central fact. Plaintiff argues that CHS TX “inexplicably asserts that the same insurance policy

would provide coverage to CHS TX in the State Court Action and to Corizon in the bankruptcy

case,” and the “problem” with this contention is that Plaintiff “is not seeking coverage or recovery

from the insurer identified in CHS TX’s motion, American International Group, Inc.,” but rather

“seek[ing] recovery from two different insurance companies, Great Midwest and Lexington.” Resp.,

Doc. No. 22, at PageID # 328. Not so. Plaintiff misunderstands the business structure of American

International Group, Inc. (“AIG”): AIG and Lexington are the same entity as AIG is Lexington’s

parent company. See Proof of Claim Example 1, attached as Exhibit A (showing that Lexington is

a “member company” of AIG); Proof of Claim Example 2, attached as Exhibit B (same); Email

Regarding Lexington Policy from AIG Representative 1, attached as Exhibit C (further showing

that AIG is a parent company of Lexington); Email Regarding Lexington Policy from AIG

Representative 2, attached as Exhibit D (same). The “problem” identified by Plaintiff purportedly


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interfering with “related to jurisdiction” (that Plaintiff is not seeking coverage or recovery from the

insurer identified in CHS TX’s motion) is, therefore, not a problem at all. See Resp., Doc. No. 22,

at PageID # 328. It is a reason the case should be transferred.

        Putting Plaintiff’s misunderstanding of the operative insurance policy to the side, it is clear

that there is “related to” jurisdiction in this case: This is at its core a Corizon dispute, arising from a

Corizon contract, and its resolution will have an impact on Corizon’s bankruptcy estate. Similar to

Quick, to allow Plaintiff to recover against CHS TX in this matter would interfere with the ability of

Corizon’s hundreds of similarly situated creditors to recover their fair share of the bankruptcy estate

as their chance at recovery comes from the same AIG/Lexington insurance policy. See 2007 WL

494924, at *3. Essentially, like in Sieckmann v. Interstate Brands Corp., No. 4:06-CV-123 SNL,

2006 WL 8459101, at *3 (E.D. Mo. Sept. 29, 2006), if Plaintiff prevailed on its claims in this action,

such a judgment would be paid out by Lexington/AIG, and the creation of an additional debt would

undoubtedly affect the bankruptcy creditors who are to receive payment from that same

AIG/Lexington policy. AIG/Lexington has expressly recognized the “related” nature of this case and

the bankruptcy case and has declared its inability to act so as to not erode an asset of the estate;

Plaintiff should do the same. See Email Regarding Lexington Policy from AIG Representative 1,

Ex. C (“Due to Corizon / Tehum bankruptcy, Lex[ington] can not make any payments that erode

the aggregate limits” [of the policy].”); Email Regarding Lexington Policy from AIG Representative

2, Ex. D (“Lexington is currently barred by the bankruptcy court order from depleting the aggregate

policy limit.”).

II.     Transfer is Appropriate

        Preliminarily, it is important to note that a district court may transfer under § 1412 upon a

sufficient showing that transfer is either in the interest of justice or for the convenience of the parties.


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Quick, 2007 WL 494924, at *3. District courts within the Eighth Circuit have routinely emphasized

the disjunctive nature of § 1412. E.g., Thys Chevrolet, Inc. v. Gen. Motors LLC, No. 10-CV-46-

LRR, 2010 WL 4004328, at *12 (N.D. Iowa Oct. 12, 2010). Contrary to Plaintiff’s exhaustive

recitation of all elements that may be considered in assessing the interests of justice and the

convenience of the parties, CHS TX need only satisfy one of the two prongs.

        CHS TX has done so, primarily, by relying on the “home court” presumption—the strong

presumption in favor of placing venue in the district court where the bankruptcy case is pending—

to establish that transfer is in the interests of justice. Plaintiff makes much of the fact that the debtor

(Corizon) is a non-movant in this action, could not join the motion to transfer venue, and is not a

party to this case. See Resp. Opp., Doc. No. 22, at PageID ## 329–30. While it may be true that the

consideration of the home court presumption is entitled to less deference where the movant is not

the debtor (Quick, 2007 WL 494924, at *3), this does not mean that the home court presumption is

entitled to no deference. Indeed, district courts in the Eighth Circuit have held directly to the

contrary. See, e.g., Thys Chevrolet, Inc., 2010 WL 4004328, at *11 (“While this factor is less

important where the debtor is a non-movant in the motion to transfer venue, the court finds that it is

entitled to some weight in favor of transfer.”) (internal citation omitted). The fact that Plaintiff’s

claims arise from a Corizon contract that will be paid by a Corizon insurance policy tied up as part

of bankruptcy proceedings in the Southern District of Texas remains of importance and impacts the

appropriateness of transfer, regardless of whether the movant seeking transfer is Corizon (the debtor)

or CHS TX. And while it is true that Plaintiff’s choice of a Missouri forum is entitled to some

deference, here the balance of interests and strong presumption in favor of placing venue in the same

district court as the bankruptcy proceedings demonstrate that transfer is appropriate. See Krakowski

v. Am. Airlines, Inc., 927 F. Supp. 2d 769, 776 (E.D. Mo. 2013) (recognizing that the plaintiff’s


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choice of forum was entitled to a measure of deference, but nonetheless finding transfer to

bankruptcy court to be appropriate); Lonquist Field Servs., LLC, 2020 WL 5230887, at *2 (same).

         In accordance with the foregoing, CHS TX respectfully requests that this Court enter an order

transferring venue of this action to the United States Bankruptcy Court for the Southern District of

Texas, Houston Division and docketing it as an Adversary Proceeding in Chapter 11 Case No. 23-

90086.



                                                       Respectfully Submitted,

                                                       /s/ R. Thomas Warburton
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on October 5, 2023, a copy of the foregoing was filed electronically with
the Clerk’s office by using the CM/ECF system and served electronically and/or via first-class U.S.
mail, postage prepaid, upon all counsel as indicated below. Parties may also access this filing through
the Court’s ECF system.

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